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     Federal Defender
2    PEGGY SASSO, Bar #228906
     Assistant Federal Defender
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     Telephone: (559) 487-5561
5
     Attorney for Defendant
6    Eudaldo Garcia-Salas
7
8
                                  IN THE UNITED STATES DISTRICT COURT
9
                                FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                       )   NO. 1:11-cr-0339 AWI
                                                     )
12                         Plaintiff,                )   STIPULATION TO CONTINUE STATUS
                                                     )   CONFERENCE HEARING;
13          v.                                       )   ORDER
                                                     )
14   EUDALDO GARCIA-SALAS ,                          )
                                                     )   Date: December 12, 2011
15                         Defendant.                )   Time: 9:00 a.m.
                                                     )   Judge: Honorable Anthony W. Ishii
16                                                   )
17               IT IS HEREBY STIPULATED by and between the parties through their respective counsel,
18   Assistant United States Attorney Karen A. Escobar, Counsel for Plaintiff, and Assistant Federal Defender
19   Peggy Sasso, Counsel for Defendant Eudaldo Garcia-Salas and Mark W. Coleman, Counsel for Defendant
20   Jose Cisneros-Garcia, that the hearing currently set for October 24, 2011 at
21   9:00 a.m., may be rescheduled to December 12, 2011 at 9:00 a.m.
22          Defense received initial discovery on October 14, 2011. The bulk of the initial discovery consists
23   of 26 CD’s and 3 DVD’s that must be ordered by defense from Maximus. This continuance is at the
24   request of defense counsel to allow counsel time to obtain and review the aforementioned initial
25   discovery. The requested continuance will conserve time and resources for both counsel and the court.
26   ///
27   ///
28   ///
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1              The parties agree that the delay resulting from the continuance shall be excluded in the interests of
2    justice herein and for effective defense preparation pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and
3    3161(h)(7)(B)(i) and (iv).
4                                                                    BENJAMIN B. WAGNER
                                                                     United States Attorney
5
6    Dated: October 19, 2011                                        /s/ Karen A. Escobar
                                                                    KAREN A. ESCOBAR
7                                                                   Assistant United States Attorney
                                                                    Attorney for Plaintiff
8
9                                                                    DANIEL J. BRODERICK
                                                                     Federal Defender
10
11   Dated: October 19, 2011                                        /s/ Peggy Sasso
                                                                    PEGGY SASSO
12                                                                  Assistant Federal Defender
                                                                    Attorney for Defendant
13                                                                  Eudaldo Garcia-Salas
14
15   Dated: October 19, 2011                                        /s/ Mark W. Coleman
                                                                    MARK W. COLEMAN
16                                                                  Attorney for Defendant
                                                                    Jose Cisneros-Garcia
17
18
19
20                                                       ORDER

21   IT IS SO ORDERED.

22
     Dated:        October 19, 2011
23   0m8i78                                                      CHIEF UNITED STATES DISTRICT JUDGE
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26
27
28

     Stipulation to Continue Status
     Conference Hearing; [Proposed] Order                  -2-
